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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

  JAMES BRUNSON AND BRUNSON              )
  PACKAGE, INC., AN ILLINOIS             )
  CORPORATION                            )
                                         )
                       Plaintiffs        )
                                         )
                  Vs.                    )                            No. 12-225 MJR/DGW
                                         )
  MAX SCHAUF, INDIVIDUALLY AND           )
  IN HIS CAPACITY AS MAYOR OF            )
  BRIDGEPORT, ILLINOIS; SCOTT MURRAY     )
  INDIVIDUALLY AND IN HIS CAPACITY AS    )
  CHIEF OF POLICE FOR BRIDGEPORT; MIKE   )
  MEFFORD, INDIVIDUALLY AND IN HIS       )
  CAPACITY AS CHIEF OF POLICE AND FIRE   )
  FOR LAWRENCEVILLE, ILLINOIS; LISA WADE )
  INDIVIDUALLY AND IN HER CAPACITY AS    )
  STATE=S ATTORNEY FOR LAWRENCE COUNTY )
  MARK SCHAUF; JASON COOPER, JODY        )
  HARSHMAN; CITY OF BRIDGEPORT, CITY     )
  OF LAWRENCEVILLE; AND COUNTY OF        )
  LAWRENCE,                              )
                                         )
                       Defendants.       )


                                      STATUS REPORT

      NOW Come the Defendants, Max Schauf, Individually and in his capacity as Mayor

  of Bridgeport, Illinois, Scott Murray, Individually and in his capacity as Chief of Police

  for Bridgeport, and the City of Bridgeport, by Joseph A. Bleyer of Bleyer and Bleyer,

  their attorneys, and for their Status Report to the Court, state:
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         1.     The Defendants, Max Schauf, Individually and in his capacity as Mayor of

  Bridgeport, Illinois, Scott Murray, Individually and in his capacity as Chief of Police for

  Bridgeport, and the City of Bridgeport, admit to receiving Attorney Fedder’s e-mail and

  acknowledge that Attorney Fedder never followed up with the e-mail or attempted to

  telephone counsel for the Defendants to discuss the Joint Report.

         2.     The Defendants, Max Schauf, Individually and in his capacity as Mayor of

  Bridgeport, Illinois, Scott Murray, Individually and in his capacity as Chief of Police for

  Bridgeport, and City of Bridgeport, have reviewed the Plaintiffs’ Joint Report and agree

  that the case remains pending only against the Defendants, Max Schauf, Scott Murray and

  the City of Bridgeport.

         3.     That Defendants, Lawrence County and former State’s Attorney Lisa Wade

  have been dismissed.

         4.     That the case is scheduled for a Settlement Conference before Judge

  Wilkerson on March 29, 2017.

         5.     That the Defendants, Max Schauf, Individually and in his capacity as

  Mayor of Bridgeport, Illinois, Scott Murray, Individually and in his capacity as Chief of

  Police for Bridgeport, and City of Bridgeport believe that a Settlement Conference would

  be beneficial at this time considering the issues that have been outlined by the Seventh

  Circuit Court of Appeals.

         6.     That the Defendants, Max Schauf, Individually and in his capacity as

  Mayor of Bridgeport, Illinois, Scott Murray, Individually and in his capacity as Chief of

  Police for Bridgeport, and City of Bridgeport do not believe that the Plaintiffs’ Theory
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  that a Motion for Partial Summary Judgment is likely to be granted. However, the

  Defendants Max Schauf, Individually and in his capacity as Mayor of Bridgeport, Illinois,

  Scott Murray, Individually and in his capacity as Chief of Police for Bridgeport, and City

  of Bridgeport certainly do not take the position the Plaintiffs are not entitled to file a

  Motion for Summary Judgment and if a Motion for Partial Summary Judgment is filed,

  the Court should establish a Briefing Schedule.

         7.     The Defendants, Max Schauf, Individually and in his capacity as Mayor of

  Bridgeport, Illinois, Scott Murray, Individually and in his capacity as Chief of Police for

  Bridgeport, and City of Bridgeport likewise are contemplating filing a Motion to Dismiss

  now that the case is being remanded.

         8.     The Defendants, Max Schauf, Individually and in his capacity as Mayor of

  Bridgeport, Illinois, Scott Murray, Individually and in his capacity as Chief of Police for

  Bridgeport, and City of Bridgeport take no position as to whether the State will retain

  jurisdiction over the State claims. That is within the discretion of this Honorable Court;

  however, the Defendants, Max Schauf, Individually and in his capacity as Mayor of

  Bridgeport, Illinois, Scott Murray, Individually and in his capacity as Chief of Police for

  Bridgeport, and City of Bridgeport do take the position that a Settlement Conference

  would be beneficial; however, if the Court believes a Settlement Conference would be

  better suited following the Plaintiffs filing a Motion for Summary Judgment, the

  Defendants, Max Schauf, Individually and in his capacity as Mayor of Bridgeport,

  Illinois, Scott Murray, Individually and in his capacity as Chief of Police for Bridgeport,

  and City of Bridgeport certainly have no objection to that procedure.
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                                         Respectfully submitted,

                                         BLEYER and BLEYER

                                         S/Joseph A. Bleyer
                                         Attorney Registration No. 6193192
                                         Attorneys for Defendants, Max Schauf,
                                         Individually and in his capacity as Mayor of
                                         Bridgeport, Illinois, Scott Murray, Individually
                                         and in his capacity as Chief of Police for
                                         Bridgeport, and City of Bridgeport




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                               CERTIFICATE OF SERVICE

         I hereby certify that on March 7, 2017, I electronically filed a Status Report on

  behalf of all the Defendants, Max Schauf, Individually and in his capacity as Mayor of

  Bridgeport, Illinois, Scott Murray, Individually and in his capacity as Chief of Police for

  Bridgeport, and City of Bridgeport with the Clerk of the Court using CM/ECF System

  which will send notifications of such filing to the following:

                Richard S. Fedder
                144 Pineview Road
                Carbondale, IL 62901
                rfddr@yahoo.com

         I hereby certify that on March 7, 2017, I mailed by United States Postal Service,

  the documents to the following nonregistered participants:

                       None
                                                                   S/JOSEPH A. BLEYER


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